                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: Simmons, James                          :      CHAPTER 13
       Simmons, Keisha                         :
                                               :      CASE NO. 19-01991-RNO

    MOTION FOR MODIFICATION OF CHAPTER 13 PLAN AFTER CONFIRMATION

         AND NOW comes the Debtors, James Simmons and Keisha Simmons (heretofore referred to

as the “Debtors”), by and through their Attorney, Patrick J. Best, Esquire, of ARM Lawyers,

respectfully moves this Honorable Court as follows:

         1.      On May 8, 2019 the Debtors filed an original Chapter 13 Plan with this Honorable

Court.

         2.      On October 7, 2019 the Debtors filed a First Amended Chapter 13 Plan with this

Honorable Court.

         3.      On November 26, 2019, this Honorable Court entered an Order Confirming the

Debtors’ First Amended Chapter 13 Plan.

         4.      The Debtors intend on filing a Second Amended Chapter 13 Plan as a result of the

following events:

              a. The Debtors’ sale plan has been impacted by COVID-19 as they have not been able to

                 properly market the property or find a new place to live. Debtors now wish to try to pay

                 their mortgage.

              b. In addition, the Debtors have had their income impacted by the COVID-19 virus and

                 related quarantine. They believe their income should be sufficient to support the

                 Chapter 13 plan payments by September 2020.

         5.      In accordance with F.R.B.P 3015(g) this Honorable Court requires the filing of a

Motion to Modify or Amend the Chapter 13 Plan in order to confirm the Second Amended Chapter 13

Plan with the Court.


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      WHEREFORE, Debtor respectfully requests that this Honorable Court enter and Order

confirming the Debtors’ Second Amended Chapter 13 Plan.


Date: September 15, 2020                                  /s/ Patrick J. Best
                                                          Patrick J. Best, Esquire
                                                          ARM Lawyers
                                                          18 N 8th Street
                                                          Stroudsburg, PA 18360
                                                          Attorney for Debtor




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